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                 EXHIBIT L
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                                 MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO, P.C.
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                                                                                   February 28, 2020


         Eric S. Rosen
         United States Attorney’s Office
         John Joseph Moakley United States Courthouse
         1 Courthouse Way
         Suite 9200
         Boston, MA 02210


                      Re:           February 26, 2020 Government Disclosure re Singer’s Notes – USA v. Sidoo
                                    (18-cr-10080-NMG)

         Dear Eric,

         At yesterday’s status conference, the Court ordered the defendants to submit a motion to dismiss,
         for suppression of evidence, and/or for sanctions on or before March 13, 2020 related to the
         serious issues raised by the government’s disclosure of Singer’s notes from his iPhone (“Singer
         Notes”). On behalf of all defendants, in order to adequately respond to that order, defendants
         require that the government produce the following materials and respond to the following
         requests immediately, and no later than March 3, 2020:

                   1. All consensual audio recordings of any conversations Singer had with the government,
                      including but not limited to any audio recordings of any conversations between Singer
                      and any government agent on or about October 2, 2018.

                   2. All of the 302s or any other government reports (“Reports”) and underlying notes for any
                      conversation any government agent had with Singer, from the time he started cooperating
                      to the present, including any notes or Reports regarding debriefings with or of Singer
                      during the time period of the consensual recordings and any instance(s) in which Singer
                      failed to record any conversation (including any conversations using FaceTime or Skype)
                      during the time period of the consensual recordings.

                   3. Any and all documents reflecting the creation of a taint team to review the Singer Notes
                      for privilege, the identities of the members of the taint team, the date the taint team
                      received the notes for review, the date the taint team returned any portions of the notes to
                      the prosecution team as non-privileged.


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   4. Any and all documents reflecting or, if no document exists, information reflecting the
      date Singer was arrested and the date Singer began cooperating with the government.

   5. To the extent it is not apparent from the Reports to be produced, the names of the
      participants in each and every call between Singer and any government agent including
      the call that occurred on or about October 2, 2018.

   6. To the extent it is not apparent from the Reports to be produced, the names of any and all
      individuals present during any and all meetings and/or calls between September 21 and
      October 2, 2018 between any government agent and Singer including the meeting that
      occurred in a hotel room which Singer described in his October 2, 2018 note: “Liz raised
      her voice to me like she did in the hotel room about agreeing with her that everyone
      Bribed the schools.”

   7. Any Report of an interview of “Liz” regarding the accuracy of the information contained
      in the Singer Notes.

   8. The name(s) of the individual(s) who first saw Singer’s notes from October 2, 2018.

           a. The name(s) of the individual(s) from the government who became aware of the
              existence and substance of Singer’s October 2, 2018 notes.

           b. The name(s) of the individual(s) who made the determination that Singer’s
              October 2, 2019 notes were privileged.

           c. The factual information the individual(s) identified above relied upon to make
              that privilege determination.

           d. The name(s) of the individual(s) who saw Singer’s October 2, 2018 notes or
              otherwise learned of them before the government made the conclusion that they
              were privileged.

   9. The reason(s) why the taint team did not start reviewing Singer’s notes from his iPhone
      until a year after the government made the initial determination that Singer’s iPhone
      notes were privileged.

   10. The reason(s) why the taint team took until February 26, 2020 to complete its privilege
       review of Singer’s iPhone notes and produce them to the defendants.

   11. The phone numbers of any devices Singer has used or currently uses.

   12. The Grand Jury transcripts of any testimony in which Singer testified that his clients’
       payments constituted bribes or were understood by his clients to be bribes.
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    13. The dates of all communications, and notes of any such communications, through the
        present, between any government agent and any lawyer for Singer regarding whether
        there was a claim of privilege over Singer's notes.

    14. Any and all correspondence exchanged, through the present, with any lawyer for Singer
        regarding whether there was a claim of privilege over Singer's notes.

    15. We again request, as we did in our letter of October 11, 2019, and the February 19, 2020
        letter from Nixon Peabody that the government provides a full extraction of Singer's
        iPhone or any other mobile device Singer used during the relevant time-period with the
        metadata intact.

    16. Confirm if Singer's phone contained any other messaging applications (such as
        WhatsApp or Signal) and that the government has reviewed the contents of those
        applications and has made all required disclosures.

    17. Please confirm if the government returned Singer's iPhone or any other mobile device to
        him, if the device(s) were imaged, and describe the method used to image the device(s).




                                                    Sincerely,




                                                    R. Robert Popeo


cc: All counsel of record in Untied States v. Sidoo (19-cr-10080)
